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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ AND CATHY MUNIZ,                          Civil Action No. 3:23-cv-00825-JFS

                   Plaintiffs,

       v.

SILVIA VITIELLO AND AIR BNB,

                   Defendants.


STIPULATION TO EXTEND DEFENDANT AIRBNB, INC.’S TIME TO RESPOND TO
                     PLAINTIFFS’ COMPLAINT

       Defendant Airbnb, Inc. (“Airbnb”) and Plaintiffs David Muniz and Cathy Muniz

(collectively, the “Parties”), by and through their attorneys of record, enter this Stipulation based

on the following facts and circumstances:

       WHEREAS, Plaintiff filed this action in the Court of Common Pleas, Monroe County on

April 5, 2023.

       WHEREAS, Airbnb was served with the Complaint on April 18, 2023.

       WHEREAS, Airbnb filed its Notice of Removal in this Court on May 18, 2023.

       WHEREAS, Airbnb’s response to the Complaint is currently due on June 26, 2023.

       WHEREAS, the extension is warranted so that the Parties may confer in an attempt to

resolve and/or narrow the issues so as to promote an efficient resolution of this matter.

       THEREFORE, the Parties stipulate and agree that the time within which Airbnb may

answer, object to, or otherwise respond to Plaintiffs’ Complaint is extended up through and

including July 26, 2023.
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By:/s/Christina Manfredi McKinley      By:/s/John E. Lavelle
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                                       Dated: June 15, 2023
Attorneys for Defendant
AIRBNB, INC.

Dated: June 15, 2023




                              APPROVED AND SO ORDERED:

                              __________________________________
                              THE HONORABLE JOSEPH F. SAPORITO, JR
                              UNITED STATES MAGISTRATE JUDGE
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on June 15, 2023, I caused to be served a true and correct copy of

the foregoing Stipulation to Extend Defendant AirBnB, Inc.’s Time to Respond to Plaintiffs’

Complaint via e-mail on:


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                                                             /s/ Christina Manfredi McKinley
